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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                                Orlando DIVISION

In re:

ALFREDO A HERRERA                                               Case No. 6:18-bk-00458
MARIELA E HERRERA                                                     Chapter 7

         Debtor.
                                        /


                                 NOTICE OF HEARING

         NOTICE IS HEREBY GIVEN THAT: A preliminary hearing will be held on

September 10, 2019 at 11:00 a.m. in Courtroom #6A on the 6th floor, 400 W Washington

St, Orlando FL 32801, before the Honorable Karen S. Jennemann, United States

Bankruptcy Judge, to consider and act upon the following:

Application for Compensation for Arvind Mahendru, Trustee's Attorney [DE# 43]
Application for Compensation for Arvind Mahendru, Trustee [DE# 45]
Application for Compensation for BK Global and Century 21, Realtor [DE# 41]

         1. The hearing may be continued upon announcement made in open Court without

further notice.

         2. Appropriate Attire. You are reminded that Local Rule 5072−1(b)(16) requires

that all persons appearing in Court should dress in business attire consistent with their

financial abilities. Shorts, sandals, shirts without collars, including tee shirts and tank

tops, are not acceptable.

         3. Avoid delays at Courthouse security checkpoints. You are reminded that Local

Rule 5073−1 restricts the entry of cellular telephones and, except in Orlando,

computers into the Courthouse absent a specific order of authorization issued beforehand
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by the presiding judge. Due to heightened security procedures, persons must present

photo identification to enter the Courthouse.

       I HEREBY CERTIFY that on this 30th day of July 2019, at true and correct copy

of the foregoing has been furnished by CM/ECF Electronic Mail or by US Mail to all

parties listed below.

Alfredo A Herrera, Mariela E Herrera, 3950 RUNNING WATER DRIVE, ORLANDO,
FL 32829; WALTER F BENENATI, via ECF

                                                           /s/ Arvind Mahendru
                                                           ARVIND MAHENDRU
                                                           5703 Red Bug Lake Rd. #284
                                                           Winter Springs Florida 32708
                                                           Telephone: (407) 504-2462
                                                           amtrustee@gmail.com
